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 1 LAW OFFICES OF CHRIS COSCA
   CHRISthCOSCA        CA SBN 144546
 2 1007 7 Street, Suite 210
   Sacramento, CA 95814
 3 (916) 440-1010

 4 Attorney for Defendant
   EDUARDO SALINAS-GARCIA
 5

 6                               IN THE UNITED STATES DISTRICT COURT
 7                                  EASTERN DISTRICT OF CALIFORNIA
 8

 9   UNITED STATES OF AMERICA,                           CASE NO. 2:15-CR-00102-GEB

10                                Plaintiff,             STIPULATION TO CONTINUE STATUS
                                                         CONFERENCE AND TO EXCLUDE TIME
11                          v.                           PERIODS UNDER SPEEDY TRIAL ACT;
                                                         [PROPOSED] FINDINGS AND ORDER
12   EDUARDO SALINAS-GARCIA,
                                                         DATE: July 14, 2017
13                                Defendant.             TIME: 9:00 a.m.
                                                         COURT: Hon. Garland E. Burrell, Jr.
14

15

16                                               STIPULATION

17          1.      By previous order, this matter was set for a status conference on July 14, 2017.

18          2.      By this stipulation, the United States and Defendant Eduardo Salinas-Garcia, through

19 their undersigned counsel, now move to continue the status conference until August 25, 2017, and to

20 exclude time between July 14, 2017, and August 25, 2017, under Local Code T4.
21          3.      The parties agree and stipulate, and request that the Court find the following:

22                  a)     Initially, the government provided 65 pages of discovery as well as three DVDs

23          containing numerous videos. On January 13, 2016 the government provided an additional 2,683

24          pages of discovery. On February 25, 2016 the government produced another 694 pages of

25          discovery. Finally, on March 23, 2016 the government provided an additional ten DVD's

26          containing hundreds of pages of cell phone records. Counsel for defendant desires additional

27          time to consult with his client, to review the current charges, to conduct investigation and

28          research related to the charges, to review and copy discovery for this matter, to discuss potential


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 1          resolution with his client, and to otherwise prepare for trial.

 2                  b)      Counsel for defendant believes that failure to grant the above-requested

 3          continuance would deny counsel the reasonable time necessary for effective preparation, taking

 4          into account the exercise of due diligence.

 5                  c)      The government does not object to the continuance.

 6                  d)      Based on the above-stated findings, the ends of justice served by continuing the

 7          case as requested outweigh the interest of the public and the defendant in a trial within the

 8          original date prescribed by the Speedy Trial Act.

 9                  e)      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161,

10          et seq., within which trial must commence, the time period of July 14, 2017 to August 25, 2017,

11          inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) [Local Code T4]

12          because it results from a continuance granted by the Court at defendants’ request on the basis of

13          the Court’s finding that the ends of justice served by taking such action outweigh the best interest

14          of the public and the defendant in a speedy trial.

15          4.      Nothing in this stipulation and order shall preclude a finding that other provisions of the

16 Speedy Trial Act dictate that additional time periods are excludable from the period within which a trial

17 must commence.

18

19          IT IS SO STIPULATED.

20
     Dated: July 12, 2017                                     PHILLIP A. TALBERT
21                                                            Acting United States Attorney
22
                                                              /s/ Chris Cosca for
23                                                            TIMOTHY DELGADO
                                                              Assistant United States Attorney
24

25
     Dated: July 12, 2017                                     /s/ Chris Cosca
26                                                            CHRIS COSCA
27                                                            Counsel for Defendant
                                                              EDUARDO SALINAS-
28                                                            GARCIA


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 3                                                  ORDER

 4        IT IS SO FOUND AND ORDERED.

 5         Dated: July 13, 2017

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     STIPULATION RE: SPEEDY TRIAL ACT; [PROPOSED]     3
30   FINDINGS AND ORDER
